                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for lack of prosecution.
A case management conference was scheduled at 11:00 a.m. on April 5, 2011, to consider Plaintiff's appeal. On March 18, 2011, the court sent notice of the scheduled case management conference to Plaintiff's representative at 23241 Ventura #102, Woodland Hills, CA 91364, which is the address provided to the court. The notice was not returned as undeliverable. The notice advised that if Plaintiff did not appear, the court might dismiss the appeal.
On April 5, 2011, the court sent Plaintiff's representative a letter which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiff did not provide a written explanation by April 19, 2011, for his failure to appear, the court would dismiss the appeal. As of this date, Plaintiff has not submitted a written response to the court explaining his failure to appear at the April 5, 2011, case *Page 2 
management conference. Under such circumstances, the court finds the appeal must be dismissed for lack of prosecution. Now, therefore,
IT IS THE DECISION OF THIS COURT that the Complaint is dismissed.
Dated this __ day of April 2011.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Dan Robinsonon April 29, 2011. The Court filed and entered this documenton April 29, 2011. *Page 1 